Case 4:20-cv-00068-RWS-CMC Document 55 Filed 02/10/20 Page 1 of 3 PageID #: 1688




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  JUAN LOZADA-LEONI,                 §
                                     §
      Plaintiff,                     §
                                     §
  v.                                 §
                                     §                 Civil Action No. 4:20-cv-00068-RWS-CMC
  MONEYGRAM INTERNATIONAL, INC., and §
  MONEYGRAM PAYMENT SYSTEMS, INC. §
                                     §
      Defendants.                    §

       JOINT MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER

         Pursuant to the Court’s Order [Doc. 54] establishing a new trial date upon the transfer of

  this matter to the Sherman Division, Plaintiff Juan Lozada-Leoni and Defendants MoneyGram

  International, Inc. and MoneyGram Payment Systems, Inc. submit the text of their proposed

  Amended Docket Control Order and respectfully request its entry.




  JOINT MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER                                     Page 1
Case 4:20-cv-00068-RWS-CMC Document 55 Filed 02/10/20 Page 2 of 3 PageID #: 1689




                                Respectfully submitted,

                                OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

                                By:       /s/ Gary D. Eisenstat
                                        GARY D. EISENSTAT
                                        Texas State Bar No. 06503200
                                        gary.eisenstat@ogletree.com
                                        JOHN M. BARCUS
                                        Texas State Bar No. 24036185
                                        john.barcus@ogletree.com

                                8117 Preston Road, Suite 500
                                Dallas, Texas 75225
                                Telephone: (214) 987-3800
                                Fax: (214) 987-3927

                                        -and-

                                Darby Vincent Doan
                                Randy Roeser
                                HALTOM & DOAN
                                6500 Summerhill Road, Suite 100
                                Texarkana, Texas 75503
                                Telephone: (903) 255-1000
                                Facsimile (903) 255-0800

                                ATTORNEYS FOR DEFENDANTS

                                        -and-

                                KARDELL LAW GROUP

                                By:     /s/ Steve Kardell
                                        STEVE KARDELL
                                        Texas State Bar No. 11098400
                                        skardell@kardelllawgroup.com

                                4514 Cole Avenue, Suite 600
                                Dallas, Texas 75205
                                Telephone: (214) 616-4654
                                Facsimile: (469) 729-9926

                                -and-




  JOINT MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER                  Page 2
Case 4:20-cv-00068-RWS-CMC Document 55 Filed 02/10/20 Page 3 of 3 PageID #: 1690




                                     Robert W. Weber
                                     Smith Weber, L.L.P.
                                     5505 Plaza Drive
                                     Texarkana, TX 75503
                                     Telephone: (903) 223-5656
                                     Facsimile: (903) 223-5652

                                     ATTORNEYS FOR PLAINTIFF



                               CERTIFICATE OF SERVICE

         The foregoing instrument was filed using the Court’s CM/ECF system on February 10,
  2020, which will transmit a copy to all counsel of record.

                                           /s/ John M. Barcus
                                           John M. Barcus


                                                                                  41758372.1




  JOINT MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER                             Page 3
